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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 KATRINA FUHRER, on her own behalf and on         :
 behalf of her minor children, G.F. and E.F.,     :
                                                  :
                             Plaintiffs,          :
                                                  : NO. 2:21-cv-05040
               v.                                 :
                                                  :
 THE HARTFORD LIFE & ACCIDENT                     :
 INSURANCE COMPANY,                               : ELECTRONICALLY FILED
                                                  :
                                                  :
                             Defendant.           :

    DEFENDANT HARTFORD LIFE AND ACCIDENT INSURANCE COMPANY’S
             MOTION FOR JUDGMENT ON THE PLEADINGS

              For the reasons stated in the accompanying brief, Defendant Hartford Life and

Accident Insurance Company through its undersigned counsel, hereby moves this Court for

judgment in its favor and against Plaintiff on the pleadings pursuant to Federal Rule of Civil

Procedure 12(c).

                                             Respectfully submitted,

 Dated: January 31, 2022                     s/ Brian P. Downey
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                                             Adam R. Martin (PA 321257)
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                               CERTIFICATE OF SERVICE

              I, Brian P. Downey, hereby certify that on January 31, 2022, a true and correct copy

of the foregoing Motion for Judgment on the Pleadings was filed and served through the Court’s

ECF on the following registered user:

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                                            /s Brian P. Downey
                                            Brian P. Downey




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